Case 2:12-md-02323-AB Document 6257-3 Filed 10/24/14 Page 1 of 5




EXHIBITB
            Case
NFL Concussion    2:12-md-02323-AB
               Settlement                Documentin,6257-3
                          Facts - How to Participate         Filed 10/24/14
                                                     Opt-In, Opt-Out         Page 2 Page
                                                                     and Object     of 5 1 of2




        HOW TO PARTICIPATE IN, OPT-IN, OPT-OUT AND OBJECT


                              October 14, 2014 Is The Deadline To Object Or Opt-Out
                         Letter to the NFL Players J What Is Wrong With The Settlement
                      What If I Did Not Receive the Notice I Who Is Part of the Settlement
                          Payoff Table I NFL Settlement Calculator I Important Dates
        How to Participate in, Opt-In, Opt-Out and Object J For Active NFL Players J For Family Members



                                How to Participate in, Opt-In, Opt-Out
                                and Object
                               Class members who believe that the Settlement provides them with adequate
                               compensation for the injuries they have suffered and who want to participate in
                               the Settlement need to nothing until after the Court decides whether to approve
                               the Settlement. If approved, participating class members will have to register
                               with the claims administrator as required by the Settlement procedures. If you
                               decide to participate in the Settlement, you will be eligible to receive an award
                               and qualify for the Baseline Assessment Program, but you will not be able to sue
                               the NFL for any injuries related to MTBl-even injuries not compensated under
                               the Settlement and even injuries that you do not yet know of.

                               Class members who want to exclude themselves from the class must submit an
                               opt-out request by October 14, 2014. If you opt-out, you will not be bound by
                               the Settlement Agreement. Thus, you could bring (or continue) your own lawsuit
                               against the NFL for your MTBI-related injuries. If you late receive a qualifying
                               diagnosis, however, you will not be eligible for payment under the Settlement.
                               Nor will you be able to participate in the Baseline Assessment Program.

                               To opt out of the settlement class, you must submit a written request to the
                               Claims Administrator. That request should include:

                                   • Your name, address, telephone number, and date of birth;
                                   • A copy of your driver's license or other government issued identification;
                                   • A statement saying, "I wish to exclude myself from the Settlement Class
                                     in In re: National Football League Players' Concussion Injury Litigation,
                                     No. 2: 12-md-2323"; and
                                   • Your signature by hand, and the date on which you signed.

                               You should mail your request no later than October 14, 2014, and you should
                               send it to:

                                   NFL Concussion Settlement
                                   P.O. Box 25369
                                   Richmond, VA 23260

                               Class members who are unhappy with the Settlement and who would like to
                               explain to the Court the problems they see in the Settlement can submit an
                               objection. Only individuals who have not yet submitted an opt-out request can
                               submit an objection. A written objection must include:

                                  • The name and number of the case, which is In re: National Football
                                    League Players' Concussion Injury Litigation, No. 2: 12-md-2323;
                                  • Your name, address, telephone number, and date of birth;




http://www.nflconcussionsettlementfacts.com/site/how_to_optin.html                                         10/23/2014
                   Case 2:12-md-02323-AB Document 6257-3 Filed 10/24/14 Page 3 Page
                                                                               of 5 2 of2
NFL Concussion Settlement Facts - How to Participate in, Opt-In, Opt-Out and Object


                                               • A written statement or evidence establishing how you are a class
                                                 member;
                                               • A detailed statement of your objections, providing the specific reasons for
                                                 each objection and including any facts or law that you would like to bring
                                                 to the Court's attention;
                                               • Any other supporting papers, materials or briefs that you want the Court
                                                 to consider;
                                               • Your signature by hand, and the date on which you signed.

                                           Click here for a complete guide to both the objection and joining the effort

                                           You should mail your objection no later than October 14, 2014, and you should
                                           send it to:

                                                Clerk of the District Court/NFL Concussion Settlement
                                                U.S. District Court for the Eastern District of Pennsylvania
                                                United States Courthouse
                                                601 Market Street
                                                Philadelphia, PA 19106-179722




    Updated - Oct. 6, 2014 I Contact Us at info@nflconcusslonsettlementfacts.com




http://www.nflconcussionsettlementfacts.com/site/how_to_optin.html                                                        10/23/2014
http://nflconcussionsettlementfacts.com/site/how_to_optin.html   view-source:http://nflconcussionsettlementfacts.com/site/how_to_optin.html
                          Case 2:12-md-02323-AB Document 6257-3 Filed 10/24/14 Page 4 of 5

              1 <!DOCTYPE html PUBLIC "-//W3C//DTD XHTML 1.0 Transitional//EN"
              2          "http://www.w3.org/TR/xhtml1/DTD/xhtml1-transitional.dtd">
              3 <html xmlns="http://www.w3.org/1999/xhtml">
              4 <head>
              5
              6 <!-- Start of StatCounter Code for BBEdit (Mac) -->
              7 <script type="text/javascript">
              8 var sc_project=10059282;
              9 var sc_invisible=1;
             10 var sc_security="b86e63c1";
             11 var scJsHost = (("https:" == document.location.protocol) ?
             12 "https://secure." : "http://www.");
             13 document.write("<sc"+"ript type='text/javascript' src='" +
             14 scJsHost+
             15 "statcounter.com/counter/counter.js'></"+"script>");
             16 </script>
             17 <noscript><div class="statcounter"><a title="web analytics"
             18 href="http://statcounter.com/" target="_blank"><img
             19 class="statcounter"
             20 src="http://c.statcounter.com/10059282/0/b86e63c1/1/"
             21 alt="web analytics"></a></div></noscript>
             22 <!-- End of StatCounter Code for BBEdit (Mac) -->
             23
             24
             25 <link href="styles/nflconcussion_style.css" rel="stylesheet" type="text/css" />
             26
             27 <style type="text/css">
             28 </style>
             29
             30 <title>NFL Concussion Settlement Facts - How to Participate in, Opt-In, Opt-Out and Obj
             31     <meta name="generator" content="BBEdit 8.2" />
             32     <meta name="description" content="NFL Concussion Settlement Facts - How to Particip
             33     <meta name="keywords" content="NFL Concussion Settlement Facts - How to Participate
             34 </head>
             35 <body>
             36     <div id="wrapper">
             37
             38          <div id="bannertop">
             39              <div id="curloc">How to Participate in, Opt-In, Opt-Out and Object</div>
             40          </div> <!-- for banner_top -->
             41
             42          <div id="navigation"><center>
             43              <ul>
             44                   <li><a href="../index.html">Letter to the NFL Players</a></li>
             45                   <li class="last_list_item"><a href="what_is_wrong_with_the_settlement.h
             46              </ul>
             47              <ul>
             48                   <li><a href="what_if_i_did_not_receive_the_notice.html">What If I Did N
             49                   <li class="last_list_item"><a href="who_is_part_of_the_settlement.html"
             50              </ul>
             51              <ul>
             52                   <li><a href="payoff_table.html">Payoff Table</a></li>
             53                   <li><a href="NFLSettlementCalculator.html">NFL Settlement Calculator</a
             54                   <li class="last_list_item"><a href="important_dates.html">Important Dat
             55              </ul>
             56              <ul>
             57                   <li><!-- a href="how_to_optin.html" -->How to Participate in, Opt-In, O
             58                   <li><a href="for_active_nfl_players.html">For Active NFL Players</a></l
             59                   <li class="last_list_item"><a href="for_family_members.html">For Family
             60              </ul>
             61              </center>
             62          </div> <!-- for navigation -->


1 of 2                                                                                                                 10/10/2014 7:52 PM
http://nflconcussionsettlementfacts.com/site/how_to_optin.html   view-source:http://nflconcussionsettlementfacts.com/site/how_to_optin.html
                          Case 2:12-md-02323-AB Document 6257-3 Filed 10/24/14 Page 5 of 5
            63
            64
            65         <div id="content">
            66                  <div id="sideimage_a"><a href="https://www.twitter.com/NFLObjectors" Ta
            67
            68         <H1>How to Participate in, Opt-In, Opt-Out and Object</H1>
            69             <p>Class members who believe that the Settlement provides them with adequat
            70
            71             <p>Class members who want to exclude themselves from the class must submit
            72
            73             <p>To opt out of the settlement class, you must submit a written request to
            74
            75                  <ul id="bulletpts">
            76                      <li>Your name, address, telephone number, and date of birth;</li>
            77                      <li>A copy of your driver's license or other government issued iden
            78                      <li>A statement saying, "I wish to exclude myself from the Settleme
            79                      <li>Your signature by hand, and the date on which you signed.</li>
            80                  </ul>
            81
            82                  <p>You should mail your request no later than October 14, 2014, and you
            83                  &nbsp; &nbsp; &nbsp; NFL Concussion Settlement<br>
            84                  &nbsp; &nbsp; &nbsp; P.O. Box 25369<br>
            85                  &nbsp; &nbsp; &nbsp; Richmond, VA 23260 </p>
            86
            87                  <p>Class members who are unhappy with the Settlement and who would like
            88
            89                  <ul id="bulletpts">
            90                      <li>The name and number of the case, which is <i>In re: National Fo
            91                      <li>Your name, address, telephone number, and date of birth;</li>
            92                      <li>A written statement or evidence establishing how you are a clas
            93                      <li>A detailed statement of your objections, providing the specifi
            94                      <li>Any other supporting papers, materials or briefs that you want
            95                      <li>Your signature by hand, and the date on which you signed.</li>
            96                  </ul>
            97
            98                  <p><a href="http://www.mololamken.com/nfl-concussion-litigation.html" T
            99
           100                  <p>You should mail your objection no later than October 14, 2014, and y
           101
           102             <p>
           103             &nbsp; &nbsp; &nbsp; Clerk of the District Court/NFL Concussion Settlement<
           104             &nbsp; &nbsp; &nbsp; U.S. District Court for the Eastern District of Pennsy
           105             &nbsp; &nbsp; &nbsp; United States Courthouse <br>
           106             &nbsp; &nbsp; &nbsp; 601 Market Street<br>
           107             &nbsp; &nbsp; &nbsp; Philadelphia, PA 19106-179722 <br></p>
           108         </div> <!-- content -->
           109
           110         <div id="bottomfooter">
           111             <ul>
           112                  <li>Updated - Oct. 6, 2014</li>
           113                  <li class="last_list_item">Contact Us at info@nflconcussionsettlementfa
           114             </ul>
           115          </div> <!-- div for footer -->
           116
           117     </div> <!--DIV for wrapper-->
           118
           119
           120
           121 </body>
           122 </html>
           123




2 of 2                                                                                                                 10/10/2014 7:52 PM
